17-10060-shl   Doc 64-2   Filed 08/16/17 Entered 08/16/17 11:18:40   Exhibit B
                                   Pg 1 of 5




                EXHIBIT B




                                      1
17-10060-shl   Doc 64-2   Filed 08/16/17 Entered 08/16/17 11:18:40   Exhibit B
                                   Pg 2 of 5
17-10060-shl   Doc 64-2   Filed 08/16/17 Entered 08/16/17 11:18:40   Exhibit B
                                   Pg 3 of 5
17-10060-shl   Doc 64-2   Filed 08/16/17 Entered 08/16/17 11:18:40   Exhibit B
                                   Pg 4 of 5
17-10060-shl   Doc 64-2   Filed 08/16/17 Entered 08/16/17 11:18:40   Exhibit B
                                   Pg 5 of 5
